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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                LAKE CHARLES DIVISION


 BENJAMIN FOX                                       CASE NO. 2:18-CV-00502

 VERSUS                                             JUDGE JAMES D. CAIN, JR.

 NU LINE TRANSPORT L L C ET AL                      MAGISTRATE JUDGE KAY

                                  MEMORANDUM ORDER

            Before the Court is a “Motion to Certify Judgment for Immediate Appeal” (Doc.

 114) wherein, Defendant, Nu Line Transport, LLC, (“Nu Line”) moves the Court to certify

 its July 31, 2020 Judgment 1 as appealable pursuant Rule 28 U.S.C. § 1292(b) of the Federal

 Rules of Civil Procedure. Nu Line argues that this Court’s ruling which vacated a prior

 Memorandum Ruling and Judgment 2 is immediately appealable because it involves a

 controlling question of law as to which there is substantial ground for difference of opinion,

 and an immediate appeal may materially advance the ultimate termination of the litigation.

 The Court agrees. Accordingly,

            IT IS ORDERED that the motion is hereby GRANTED; a separate Amended

 Judgment will be forthcoming.

            THUS DONE AND SIGNED in Chambers on this 20th day of October, 2020.



                        ____________________________________________
                                     JAMES D. CAIN, JR.
                             UNITED STATES DISTRICT JUDGE

 1
     Doc. 113.
 2
     Docs. 37 and 38.
